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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



GEORGE SMITH                               :      CIVIL ACTION
                                           :
                                           :
                                           :
               v.                         :
                                           :
SOUTHEAST DELCO SCHOOL DIST.              :       NO. 19-3150



                                         ORDER

       AND NOW, this 1st day of October, 2020, it having been reported that the issues
between the parties in the above action have been settled and upon Order of the Court,
pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court
(effective January 1, 1970), it is


       ORDERED that this action is DISMISSED with prejudice, pursuant to agreement of
counsel without costs.



                                                  BY THE COURT




                                                  Carol Sandra Moore Wells
                                                  CAROL SANDRA MOORE WELLS
                                                  U.S. MAGISTRATE JUDGE
